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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

In re:                                            §
                                                  §               Case No. 18-32106
ERIN ENERGY CORPORATION,                          §
                                                  §               Chapter 11
         Debtor.                                  §
                                                  §
                                                  §
In re:                                            §
                                                  §               Case No. 18-32107
ERIN ENERGY LIMITED,                              §
                                                  §               Chapter 11
         Debtor.                                  §
                                                  §
                                                  §
In re:                                            §
                                                  §               Case No. 18-32108
ERIN ENERGY KENYA LIMITED,                        §
                                                  §               Chapter 11
         Debtor.                                  §
                                                  §
                                                  §
In re:                                            §
                                                  §               Case No. 18-32109
ERIN PETROLEUM NIGERIA                            §
LIMITED,                                          §
                                                  §               Chapter 11
      Debtor.                                     §
_________________________________                 §       ___________________________________
                                                  §       Joint Administration Pending

   NOTICE OF DESIGNATION AS COMPLEX CHAPTER 11 BANKRUPTCY CASE

         The above captioned debtors and debtors in possession (collectively, the “Debtors”) each

filed for bankruptcy on April 25, 2018. The undersigned party in interest believes that this case

qualifies as a complex chapter 11 case because:

          √   The Debtors have total debt of more than $10 million;

          √   There are more than 50 parties in interest in these cases;
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         √   The Debtors’ equity is publicly traded;

        __√__ Other (Substantial explanation is required.) A significant portion of the Debtors’
assets are located in foreign jurisdictions and a significant portion of the Debtors’ assets are
subject to liens granted under the laws of other countries.

       Respectfully submitted on the 25th day of April, 2018.

                                            Respectfully submitted,

                                            OKIN ADAMS LLP

                                            By:          /s/ Matthew S. Okin
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                                            PROPOSED ATTORNEYS FOR THE
                                            DEBTORS




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